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                          EXHIBIT Q
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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                                Case No. 9:19-cv-81160-RS




    APPLE INC.,

                           Plaintiff,

          v.

    CORELLIUM, LLC,

                         Defendant.



                PLAINTIFF APPLE INC.’S MOTION TO COMPEL
                 DEFENDANT CORELLIUM, LLC TO PRODUCE
         DOCUMENTS AND TO ALLOW A 90-MINUTE CONTINUANCE OF THE
                   DEPOSITION OF CHRISTOPHER WADE
                AND INCORPORATED MEMORANDUM OF LAW
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          Plaintiff Apple Inc. respectfully moves the Court for an order compelling Defendant
   Corellium, LLC (1) to produce documents that corroborate or refute its co-founder Christopher
   Wade’s claim
                                                                           (2) to produce all documents
   responsive to Apple’s Request for Production No. 20, and (3) to provide Mr. Wade for a limited,
   90-minute continuance of his deposition on


   I.     RELEVANT BACKGROUND
          On October 9, 2019, Apple propounded Request No. 20 seeking “[a]ll Documents and
   Communications relating to Your obtaining any of Apple’s products, including but not limited to
   Your acquisition of one or more dev-fused iPhones.” Ex. A at 12. “Your,” in turn, was defined to
   include “Corellium, LLC . . . including any agents or Person acting on their behalf or under their
   control.” Id. at 2. “Dev-fused iPhones” are highly confidential versions of Apple’s iPhones that
   are not sold to the public and lack certain security restrictions, and are intended for Apple’s internal
   testing and development purposes only.1 Id. Corellium agreed to produce “all non-privileged
   responsive documents relating to obtaining Apple’s products that were used for
   development/testing which include the purchase of iPhones, Mac laptops and a Mac Mini.” Ex. B
   at 11. Corellium further affirmatively stated, “[t]o be clear, Corellium did not acquire a dev-fused
   iPhone and does not have any responsive documents to that portion of the request.”2 Id.
          Last week Apple deposed Corellium’s co-founder and Chief Technology Officer,
   Christopher Wade. Apple’s counsel
                                         Mr. Wade explained


                                                                Ex. C at 75:5–10. He likewise testified



   1
     As one technology journalist has put it, dev-fused iPhones “are essentially phones that have not
   finished the production process, or have been reverted to a development state. In other words, they
   are pre-jailbroken devices,” which one hacker described as “kind of the golden egg to a
   jailbreaker.” Ex. D at 2–3 (Lorenzo Franceschi-Bicchierai, The Prototype iPhones That Hackers
   Use to Research Apple’s Most Sensitive Code, Vice (Mar. 6, 2019),
   https://www.vice.com/en_us/article/gyakgw/the-prototype-dev-fused-iphones-that-hackers-use-
   to-research-apple-zero-days).
   2
     All emphasis in quotes added unless otherwise indicated.

                                                      1
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                                                                                  Id. 162:15–20. Mr. Wade


                                                Id. at 148:1–6. He went on to state that,


                                                               Id. at 148:8–15. He further testified that,


                                                                   Id. at 162:24–163:5, 164:2–23. He
                                                 Id. at 263:15–264:18. And Mr. Wade testified that




                             . Id. at 170:6–172:21;                          .3
            After




                                                                                  Ex. C at 272:23-273:1; Ex.
   E; Ex. F. Apple’s counsel
                                .4 Mr. Wade


                                                                                            Ex. C at 273:9–
   275:7. Mindful of the Court’s
                                         Ex. G at 310:11–12, 311:13–18, counsel did
                                                               .
            After the deposition, Apple followed up with Corellium explaining the problems caused by




                                                          . Apple explained that, because Corellium has


   3
       Mr. Wade testified
                                                           .
   4
       While the records of Mr. Wade’s




                                                      2
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                                    Apple thus requested evidence regarding
                                                                                     Apple explained
   that additional evidence is particularly important because:




                                                                 See Ex. F.
          The parties have met and conferred on this issue. Corellium disputes that it has any
   obligation to provide further information and disputes that


                                                 Neither Mr. Wade nor Corellium has provided any
   corroborating information, leaving this dispute unresolved. In light of the close of fact discovery
   and the parties’ inability to resolve this dispute to date, Apple moves to compel the production of
   all documents responsive to Request No. 20,




   II.    ARGUMENT
          Throughout discovery, Corellium has frequently declared its positions on disputed factual
   issues, expecting Apple to simply accept them as “gospel” without evidence, and without the
   ability to test their veracity. Ex. G at 114:4–5. As the Court has recognized, that is “not the way
   it works.” Id. at 114:9. Apple is entitled to test




                                                                                                     .
   All Apple has is



                                                    3
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          Apple should not have to accept as gospel Mr. Wade’s claim
                                                                             First,


                                                                          Ex. C at 148:1–15, 162:24-
   163:5, 164:2–23. Second,


                                    Compare ECF No. 64 (Counterclaims) ¶ 27(a), with Ex. H (email
   from cmw@cmw.me about one of the bugs at issue in Corellium’s counterclaims, persona race
   condition). Third,
                                                        Compare Ex. C at 271:18–20; 272:23–273:1
                                                             ), with Ex. F (showing address Corellium
   used in Nov. 2018).
          Apple had hoped
                                      . But the opposite happened:


                                                                                            Given Mr.
   Wade’s




          WHEREFORE, for the reasons set forth above, Apple respectfully requests that this Court
   grant this Motion to Compel and (1) order Defendant Corellium, LLC to produce documents that




                 (2) order Defendant Corellium, LLC to produce all documents responsive to Apple’s
   Request for Production No. 20; and (3) grant a limited, 90-minute continuance of Mr. Wade’s
   deposition
          I HEREBY CERTIFY, pursuant to Local Rule 7.1(a)(3)(A), that counsel for the movant
   conferred with all parties or non-parties who may be affected by the relief sought in this Motion
   in a good faith effort to resolve the issues via email and by telephone on April 17–20, 2020.
   Despite these efforts, the parties have been unable to resolve the issues described herein.


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    Dated: April 20, 2020                           Respectfully Submitted,


                                                    s/ Martin B. Goldberg
    Michele D. Johnson*
    michele.johnson@lw.com                          Martin B. Goldberg
    LATHAM & WATKINS LLP                            Florida Bar No. 0827029
    650 Town Center Drive, 20th Floor               mgoldberg@lashgoldberg.com
    Costa Mesa, CA 92626                            rdiaz@lashgoldberg.com
    (714) 540-1235 / (714) 755-8290 Fax             Emily L. Pincow
                                                    Florida Bar No. 1010370
    Sarang Vijay Damle*                             epincow@lashgoldberg.com
    sy.damle@lw.com                                 gizquierdo@lashgoldberg.com
    Elana Nightingale Dawson*                       LASH & GOLDBERG LLP
    elana.nightingaledawson@lw.com                  100 Southeast Second Street
    LATHAM & WATKINS LLP                            Miami, FL 33131
    555 Eleventh Street NW, Suite 1000              (305) 347-4040 / (305) 347-4050 Fax
    Washington, DC 20004
    (202) 637-2200 / (202) 637-2201 Fax

    Andrew M. Gass*
    andrew.gass@lw.com
    Joseph R. Wetzel*
    joe.wetzel@lw.com
    LATHAM & WATKINS LLP
    505 Montgomery Street, Suite 2000
    San Francisco, CA 94111
    (415) 391-0600 / (415) 395-8095 Fax

    Jessica Stebbins Bina*
    jessica.stebbinsbina@lw.com
    LATHAM & WATKINS LLP
    10250 Constellation Blvd., Suite 1100
    Los Angeles, CA 90067
    (424) 653-5500 / (424) 653-5501 Fax

    Gabriel S. Gross*
    gabe.gross@lw.com
    LATHAM & WATKINS LLP
    140 Scott Drive
    Menlo Park, CA 94025
    (650) 463-2628 / (650) 463-2600 Fax

    *Admitted pro hac vice
                                  Attorneys for Plaintiff APPLE INC.

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                                  CERTIFICATE OF SERVICE

          I, Elana Nightingale Dawson, do hereby certify that on April 20, 2020, I caused a copy of

   the foregoing Plaintiff Apple Inc.’s Motion to Compel Defendant Corellium, LLC to Produce

   Documents and to Allow a 90-Minute Continuance of the Deposition of Christopher Wade and

   Incorporated Memorandum of Law to be served via email upon:

    S. Jonathan Vine                                  David L. Hecht
    Justin B. Levine                                  Maxim Price
    Lizza C. Constantine                              Minyao Wang
    Michael Alexander Boehringer                      Conor B. McDonough
    COLE, SCOTT & KISSANE, P.A.                       HECHT PARTNERS LLP
    Esperante Building                                20 West 23rd St. Fifth Floor
    222 Lakeview Avenue, Suite 120                    New York, NY 10010
    West Palm Beach, Florida 33401                    dhecht@hechtparntersllp.com
    jonathan.vine@csklegal.com                        mprice@hechtpartnersllp.com
    justin.levine@csklegal.com                        mwang@hechtpartnersllp.com
    lizza.constantine@csklegal.com                    cmcdonough@hechtpartners.com
    michael.boehringer@csklegal.com




                                                        s/ Elana Nightingale Dawson
                                                        Elana Nightingale Dawson




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